            Case 3:20-cv-00132-RGJ Document 57 Filed 07/17/20 Page 1 of 1 PageID #: 1217

                                          UNITED STATES DISTRICT COURT
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     1                        January 13, 2020 letter
    2                         Spreadsheet - 2 pages




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 DISPOSITION OF EXHIBITS:

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